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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 CC METALS & ALLOYS, LLC,                                                                   Plaintiff,

 v.                                                             Civil Action No. 3:22-cv-103-DJH

 AMERICAN INTERNATIONAL
 SPECIALTY LINES INSURANCE
 COMPANY and FORTITUDE
 REINSURANCE COMPANY LTD.,                                                               Defendants.

                                               * * * * *

                                               ORDER

       This matter was filed on February 21, 2022. (Docket No. 1) Although the caption of the

complaint reads “Western District of Kentucky Louisville Division,” the body of the complaint

makes clear that the case should have been filed in the Western District of Kentucky, Paducah

Division. (See id., PageID # 7–8 (stating that venue is proper because “a substantial part of the

events giving rise to the claim occurred in this district and the [Plaintiff’s] Site,” which is located

in Calvert City, Kentucky)) Calvert City is located in Marshall County, which is in the Western

District of Kentucky, Paducah Division. See LR 3.1(b)(4). Accordingly, and the Court being

otherwise sufficiently advised, it is hereby

       ORDERED that this matter is TRANSFERRED to the United States District Court for

the Western District of Kentucky, Paducah Division. See 28 U.S.C. § 1406(a).

        April 27, 2022




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